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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


  GREGORY J. JANICKI,                       Civil Action
                                            No. 1:22-cv-04389-KMW-MJS
                   Plaintiff,
  vs.                                        Document electronically filed

  WASHINGTON TOWNSHIP BOARD OF
  EDUCATION 2019-2022, ET AL,

                   Defendants.



 REPLY BRIEF OF CANDICE ZACHOWSKI IN SUPPORT OF MOTION
        TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)
              MOTION DAY – NOVEMBER 6, 2023

 On the Brief:
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                            PRELIMINARY STATEMENT
          Plaintiff Gregory J. Janicki has failed to provide sufficient facts or any legal

 basis to oppose defendant Zachowski’s motion to dismiss pursuant to Fed. R. Civ.

 P. 12(b)(6), which details that plaintiff has failed to state a claim, as a matter of law,

 for religious discrimination and retaliation in violation of Title VII of the Civil

 Rights Act of 1964 (“Title VII”), 42 U.S.C. §2000e et seq. While plaintiff is

 representing himself and is permitted some leeway concerning procedural aspects

 regarding court filings (e.g., stringent pleading requirements), his pro se designation

 does not put him above the law, allow him to disregard binding court orders, excuse

 his failure to comply with the statute of limitations, or simply ignore the well-settled

 law. For the reasons detailed herein and more fully within the moving papers,

 plaintiff’s complaint against defendants Washington Township Board of Education,

 Joseph N. Bollendorf, Jonathan A. Strout, Shawnequa Carvalho, Paul Esposito,

 Virginia Murphy, Danielle Halpin, Karen Garrison, Renee Pollard, Raymond C.

 Dinovi, Julie Kozempel, Janine Wechter, Brian Ellis, Elayne Clancy, Connie Baker,

 Natalie Beury, Stacy Dimeo, Kathleen Gallinaro and, now, Candice Zachowski must

 be dismissed with prejudice for failure to state any viable cause of action against

 them.




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                                         LEGAL ARGUMENT
                                                   POINT I
          THE CHANCERY DIVISION’S FINAL ORDER IS ENTITLED
          TO FULL FAITH AND CREDIT AS PLAINTIFF’S CLAIM OF
          RELIGIOUS DISCRIMINATION WAS ADJUDICATED IN THE
          CHANCERY DIVISION ACTION TO CONFIRM THE
          ARBITRATION AWARD AND JANICKI HAD NOTICE AND
          OPPORTUNITY TO BE HEARD

          The gravamen of plaintiff’s opposition to the Court giving full faith and credit

 to the Chancery Division’s final order of May 11, 2022 appears to be two-fold. First,

 he claims that he never received notice of the March 31, 2022 order to show cause

 in Docket No. C-00008-22. Second, he suggests that the Chancery Division action

 did not encompass his claims of religious discrimination. Both contentions are false.

          As the Chancery Division docket demonstrates, 1 the order to show cause was

 filed on March 31, 2022 directing Janicki to appear in person and show cause why

 judgment should not be entered confirming the August 31, 2021 award and opinion

 of the arbitrator; and precluding Janicki from repudiating or challenging the

 determination of just cause for the tenure charges and his termination “in any

 subsequent administrative, judicial or arbitration proceedings.” The case jacket

 further contains a letter of May 11, 2022, from the Board’s counsel, Geoffrey N.

 Stark, Esq., and his certification demonstrating proof of service of the March 31,



          1 Again, the case jacket of C-00000-8-22 is a matter of public record and is accessible on the New Jersey

 Judiciary eCourts system.


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 2022 order to show cause on Janicki. Janicki was copied with that letter and

 certification. As Stark certified, the order to show cause was received by Stark on

 April 11, 2022. The executed order was then sent to Janicki on April 12, 2022, at

 the very address that appears on his filings in the instant case by regular and certified

 mail. The order to show cause was also sent to Janicki’s attorney in the arbitration

 proceedings, Matthew Wieliczko, Esq., by regular and certified mail. The regular

 mailing to Janicki was never returned as undeliverable. The U. S. Post Office further

 reported that Janicki had been notified three times that a certified letter was waiting

 for him to pick up at the Post Office. The May 11, 2022 letter and certification of

 service are annexed hereto as Exhibit A.

          Clearly, Janicki was indeed served with the March 31, 2022 order to show

 cause. Moreover, he was served with the May 11, 2022 letter to Judge Becker

 demonstrating service and he ignored that opportunity to respond as well. There is

 no basis for a collateral attack upon the Chancery Division’s final order.

          What is more, the plaintiff’s claim of religious discrimination was

 encompassed within the Chancery Division action. The Board’s complaint, filed

 March 25, 2022, expressly averred in paragraph 10 that Janicki had on March 1,

 2022, filed a charge of discrimination with the EEOC, which was attached to the

 complaint as an exhibit, alleging that his employment was improperly terminated.

 Janicki concedes that the EEOC charge is based upon alleged religious


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 discrimination and his detailed account appears in the EEOC charge. See Doc. 27-

 2 at p. 128-131. The Chancery Division action was expressly brought to foreclose

 Janicki from bringing further collateral actions against the Board such as the EEOC

 charge. Thus, plaintiff’s claim that the Chancery Division action “is not what the

 current case is about” is preposterous and demonstrably untrue.

          For these reasons, and those expressed in Zachowski’s opening brief, it is

 respectfully submitted that the District Court must, pursuant to Kremer v. Chemical

 Const. Corp., 456 U.S. 461 (1982), give full faith and credit to the final order of the

 Chancery Division and dismiss the instant case, with prejudice.

                                       POINT II
          PLAINTIFF’S TITLE VII CLAIMS ARE TIME BARRED AND,
          THUS, THE COMPLAINT FAILS TO STATE A CLAIM AND
          MUST BE DISMISSED AS A MATTER OF LAW
          Plaintiff does not dispute that the last day of any alleged religious

 discrimination occurred, at latest, on February 29, 2020, with his termination.

 Further, he does not dispute the time requirements to file his EEOC Charge, which

 is 180 days from the last discriminatory act (i.e., August 27, 2020), or that he did not

 file his EEOC Charge until March 1, 2022. Instead, plaintiff makes three arguments

 to try to distract the Court’s attention from these undisputed facts to claim his EEOC

 filing was timely. Though creative, all lack merit and must be rejected. The facts

 unequivocally show that plaintiff failed to comply with the administrative process



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 and his Title VII claims are, thus, time barred. See Mandel v. M&Q Packaging

 Corp., 706 F.3d 157 (3d Cir. 2013); Webb v. City of Philadelphia, 562 F.3d 256 (3d

 Cir.2009). Consequently, plaintiff’s Title VII claims must be dismissed.

          First, plaintiff argues that any “timing that may or may not have been met”

 was not due to his fault, but rather COVID-19 restrictions with courts being closed,

 staff working from home, and court processes. See Pb 5, ¶¶1-3. This is an extremely

 overly broad and self-serving statement. Research has not revealed one iota of

 support that the time period to file an EEOC charge was ever paused or extended

 due to COVID-19. At best, COVID-19 caused delays in processing and investigating

 charges of discrimination, likely due to remote working and/or the backlog of right-

 to-sue letters. From March 21, 2020 until August 3, 2020, in light of the COVID-19

 pandemic, the EEOC formally and temporarily suspended the issuance of right -to-

 sue notices to claimant employees in an effort to delay litigation deadlines and stop

 the 90-day clock from running against a claimant employee. Notwithstanding,

 during this time period, claimants were still required to comply with the deadlines

 (180 or 300 days) to file charges of discrimination with the EEOC. Thus, plaintiff’s

 COVID-19 argument has no bearing on the issue at hand and must be disregarded.

          Second, plaintiff incorrectly argues that he had to wait until his Division of

 Civil Rights investigation was completed before filing a charge with the EEOC as

 the two could not be pending at the same time. See Pb 5, ¶4. The fact that plaintiff


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 had commenced an action on October 21, 2019, with the New Jersey Division of

 Civil Rights did not preclude him from complying with the time for filing a charge

 with the EEOC; rather, it would only extend the time for filing from 180 days to 300

 days after the last unlawful employment practice, or 30 days after receiving notice

 that the State agency terminated the proceedings (here the end of July 20 21),

 whichever is earlier. See 42 U.S.C. 2000e-5(e)(1). As detailed in the moving brief,

 300 days after the last date of unlawful discrimination was December 25, 2020, more

 than 14 months before plaintiff actually filed his EEOC Charge of discrimination.

 See Db at n.8. Even if one were to apply the 30-day rule after the Division of Civil

 Rights issued its decision, plaintiff’s EEOC Charge would have had to have been

 filed no later than August 30, 2021. Plaintiff undeniably did not file it by that day.

 Simply put, plaintiff’s prior filing with the Division of Civil Rights did not excuse

 his failure to timely file his charge of discrimination with the EEOC, and does not

 provide any relief for his failure to comply with the statute of limitations.

          Finally, plaintiff somehow argues that the tenure arbitration hearing that

 started on November 6, 2020, and ended on August 31, 2021, impacted his filing of

 the EEOC charge. Notably, the tenure proceedings were initiated over two months

 after the EEOC charge was required to be filed. The tenure charges have absolutely

 no impact on the timing which plaintiff was required to file an EEOC charge as

 directed by 42 U.S.C. 2000e-5(e)(1). Further, accepting plaintiff’s argument made


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 in Point II of his opposition brief, see Pb 4 at ¶9, the tenure charges did not involve

 his claims for religious discrimination and, therefore, cannot be said to have played

 any role in the timing for his filing of the EEOC Charge. Plaintiff cannot eat his

 cake and have it too.

          Even accepting plaintiff’s illogical argument that the EEOC charge could not

 be filed until after the tenure hearing was completed, August 31, 2021 would be the

 trigger day for the clock to start running and plaintiff’s EEOC Charge filed on March

 1, 2022, was still untimely. One hundred and eighty days from August 31, 2021, is

 Sunday, February 27, 2022. Plaintiff did not file his Charge until two days later, and

 even a one-day delay is time-barred and requires dismissal. Burgh v. Borough

 Council of the Borough of Montrose, 251 F.3d 465, 472 (3d Cir. 2001). This is

 exactly how the EEOC responded on April 7, 2022 – “the charge was not filed within

 the time limits under the law.”

          Plaintiff fails to provide any reasonable explanation as to why the EEOC

 charge of discrimination was not timely filed, nor is there any legal justification.

 The administrative procedure of timely filing an EEOC charge is a prerequisite to

 filing a civil lawsuit and acts as a statute of limitation. Plaintiff failed to meet this

 deadline by over one and a half years. Consequently, plaintiff’s Title VII claims are

 time-barred as a matter of law and must be dismissed with prejudice.




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                                          POINT III
          PLAINTIFF HAS FAILED TO POINT TO ANY FACTS IN THE
          COMPLAINT TO STATE A TITLE VII CLAIM; THUS, EVEN
          IF TIMELY, THE CLAIMS MUST BE DISMISSED

          In the opposition, plaintiff fails to appreciate that it is not sufficient to simply

 state that his “[c]laim was and still is Religious Discrimination.” See Pb 6, ¶1. As

 plaintiff is pro se, he does get some leniency with pleading requirements, which is

 why defendants considered all the facts contained in the EEOC charge of

 discrimination that was submitted with his complaint. Federal Rule of Civil

 Procedure 12(b)(6) permits dismissal for “failure to state a claim upon which relief

 can be granted.” Fed. R. Civ. P. 12(b)(6). Generally, only the allegations in the

 complaint, matters of public record, orders, and exhibits attached to the complaint,

 are taken into consideration when deciding a motion to dismiss under Rule 12(b)(6).

 See Chester County Intermediate Unit v. Pa. Blue Shield, 896 F.2d 808, 812 (3d Cir.

 1990). Janicki’s opposition brief minimally expounds on the facts underlying his

 alleged claims to paint a clearer picture of the relevant events. See Pb 6 at ¶¶4-10.

 However, the plaintiff may not amend his complaint through his opposition and any

 new facts, which are not significant, cannot be considered by the Court on the instant

 motion to dismiss. Com. of Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173,

 181 (3d Cir. 1988). Here, as detailed in the moving brief, the complaint should be

 dismissed pursuant to Rule 12(b)(6) because the alleged facts fail to state a claim.



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          Plaintiff has failed to demonstrate any plausible liability under Title VII for

 religious discrimination and/or retaliation. Specifically, plaintiff’s opposition fails

 to point to any facts that plaintiff was subjected to discrimination based upon his

 religion as Christian whereas other similarly situated persons are not treated

 adversely. See Zdunski v. Erie 2-Chautauqua-Cattaragus Boces, 2022 WL 816010

 (W.D.N.Y. 2022); Jones v. School Dist. of Philadelphia, 198 F.3d 403 (3d Cir.

 1999); Wilkerson v. New Media Tech. Charter Sch., Inc., 522 F.3d 315 (3d Cir.

 2008). Plaintiff fails to acknowledge that other than a writeup for not attending a

 mandatory faculty training session where LGBTQ issues were discussed, his

 requests for accommodations regarding LGBTQ agenda were accommodated. He

 further refuses to accept that his EEOC charge of discrimination details numerous

 other employment issues unrelated to plaintiff’s Christianity or LGBTQ issues for

 which he received writeups, was suspended, and ultimately terminated. Thus,

 plaintiff has filed to establish any causal connection between refraining from

 attending LGBTQ training and his adverse employment action. Overall, the facts in

 the complaint and EEOC charge fail to state a claim and pursuant to Rule 12(b)(6)

 must be dismissed.




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                                         POINT IV
          THE   COMPLAINT    AGAINST   THE   INDIVIDUAL
          DEFENDANTS FAILS TO STATE A VIABLE CLAIM AS A
          MATTER OF LAW AND SHOULD BE DISMISSED WITH
          PREJUDICE
          Despite plaintiff’s contention that “each” defendant has been involved in the

 process of wrongful termination and religious discrimination, no facts to support that

 allegation appear in the complaint. But beyond that, plaintiff has not come forward

 with any legal authority holding there to be individual liability in a Title VII

 discrimination claim.        The school defendants, and in particular defendant

 Zachowski, respectfully submit that Sheridan v. E.I. DuPont de Nemours and

 Company, 100 F.3d 1061, 1077-1078 (3d Cir. 1996) (en banc), remains the

 controlling precedent and compels dismissal of the complaint against each and every

 individual defendant.

          Neither case cited by the plaintiff supports his contention of personal liability.

 Burlington Industries, Inc. v. Ellerth, 524 U.S. 742 (1998), addressed the vicarious

 liability of the employing entity for a hostile work environment created by a

 supervisor in the context of an employee who suffered no tangible job consequences

 due to the supervisor’s actions. No individual employee was even a defendant in

 that case. Faragher v. City of Boca Raton, 524 U.S. 775 (1998), decided the same

 day as Ellerth, again addressed the vicarious liability of the employer for

 supervisors’ sexual harassment and examined the availability of an affirmative


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 defense of the employer exercising reasonable care to prevent and promptly correct

 any sexually harassing behavior, again where no tangible employment action has

 been taken. Individual liability was not endorsed by the Court in either case.

          Accordingly, as no individual liability has been sufficiently pled and does not

 exist as a matter of law, the complaint against the individual defendants should be

 dismissed, with prejudice.

                                     CONCLUSION
          For the reasons set forth herein and within the moving papers, defendant

 Candice Zachowski respectfully requests that the complaint be dismissed with

 prejudice for failure to state a cause for action upon which relief may be granted.

                                                 HILL WALLACK LLP
                                                 Attorneys for the Defendants,
                                                 Washington Township Board of
                                                 Education and the individual school
                                                 defendants identified herein

                                                 By:/s/ Jeffrey L. Shanaberger
                                                    Jeffrey L. Shanaberger, Esq.
 Dated:          October 12, 2023




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